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5

6

7                    IN THE UNITED STATES DISTRICT COURT
8                  FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10   UNITED STATES OF AMERICA,     )          CASE NO.CR.S 05-0038 MCE
                                   )
11                   Plaintiff,    )
                                   )
12        v.                       )          STIPULATION AND ORDER TO
                                   )          CONTINUE STATUS CONFERENCE
13   LISA B. LAYTON,               )          AND EXCLUDE TIME
                                   )
14                   Defendant.    )
     ______________________________)
15

16        The parties request that the status conference in this case
17   be continued from May 24, 2005 to May 31, 2005, and stipulate
18   that the time beginning May 24, 2005 and extending through May
19   31, 2005 should be excluded from the calculation of time under
20   the Speedy Trial Act.    The parties stipulate that the ends of
21   justice are served by the Court excluding such time, so that
22   counsel for the government and the defendant may have reasonable
23   time necessary for effective preparation, taking into account the
24   exercise of due diligence.     18 U.S.C. § 3161(h)(8)(B)(iv).
25   Specifically, the parties expect a plea resolution in this case,
26   but need first to evaluate certain information relevant to
27   sentencing.   The parties stipulate and agree that the interests
28   of justice served by granting this continuance outweigh the best

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1    interests of the public and the defendant in a speedy trial.           18
2    U.S.C. § 3161(h)(8)(A).
3

4                                            Respectfully Submitted,
5                                            McGREGOR W. SCOTT
                                             United States Attorney
6

7
     DATE: May 20, 2005               By:     /s/ Matt Segal
8
                                             MATTHEW D. SEGAL
9                                            Assistant U.S. Attorney
10

11   DATE: May 20, 2005                       /s/ Dan Brace
12                                           DAN BRACE, JR.
                                             Attorney for Lisa B. Layton
13

14
     DATE: May 20, 2005                       /s/ Lisa Layton
15
                                             LISA B. LAYTON
16                                           Defendant
17

18

19
                                             SO ORDERED.
20

21   DATE: May 25, 2005
22

23
                                      ___________________________________
24
                                      MORRISON C. ENGLAND, JR
25                                    UNITED STATES DISTRICT JUDGE

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